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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     PAUL LARRY MACK
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )      2:11-CR-0262- WBS
12                                )
                  Plaintiff,      )      STIPULATION AND [PROPOSED]
13                                )      ORDER
             v.                   )
14                                )      Date: January 23, 2012
     PAUL LARRY MACK, et al. ,    )      Time: 9:30 a.m.
15                                )      JUDGE: Hon. William B. Shubb
                  Defendants.     )
16                                )
     ____________________________ )
17
18        It is hereby stipulated and agreed to between the United States of
19   America through JASON HITT, Assistant U.S. Attorney, and defendant,
20   PAUL MACK, by and through his counsel, BENJAMIN GALLOWAY, Assistant
21   Federal Defender, ALEXANDER HUGHES by and through his counsel, A.
22   STANLEY KUBOCHI, ERIK SOLISFOX, by and through his counsel CHRISTOPHER
23   HAYDN-MYER and LAVERNE FIELDS, by and though her counsel STEVEN D.
24   BAUER that the status conference set for Monday, December 12, 2011, be
25   continued to Monday, January 23, 2012 at 9:30 a.m..
26      The reason for this continuance is to allow defense counsel
27   additional time to review discovery with the defendants, to examine
28   possible defenses and to continue investigating the facts of the case.
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 1   In addition, several of the parties are in active plea negotiations and
 2   are working toward the negotiated resolution of their cases.
 3   Additional time is needed for that purpose.
 4      Speedy trial time is to be excluded from the date of this order
 5   through the date of the status conference set for January 23, 2012,
 6   pursuant to 18 U.S.C. § 3161 (h)(8)(B)(iv) [reasonable time to prepare]
 7   (Local Code T4).
 8
 9   DATED: December 8, 2011        Respectfully submitted,
10                                  DANIEL J. BRODERICK
                                    Federal Defender
11
                                    /s/ Benjamin Galloway
12                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
13                                  Attorney for Defendant
                                    PAUL LARRY MACK
14
15
                                    /s/ Benjamin Galloway for
16                                  A. STANLEY KUBOCHI
                                    Attorney for Defendant
17                                  ALEXANDER HUGHES
18
19                                  /s/ Benjamin Galloway for
                                    CHRISTOPHER HAYDN-MYER
20                                  Attorney for Defendant
                                    ERIK SOLISFOX
21
22
                                    /s/ Benjamin Galloway for
23                                  STEVEN D. BAUER
                                    Attorney for Defendant
24                                  LAVERNE FIELDS
25
     DATED: December 8, 2011        BENJAMIN B. WAGNER
26                                  United States Attorney
27                                  /s/ Benjamin Galloway for
                                    JASON HITT
28                                  Assistant U.S. Attorney
                                    Attorney for Plaintiff

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              Case 2:11-cr-00262-WBS Document 43 Filed 12/12/11 Page 3 of 3


 1
                                       O R D E R
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 3
         The above stipulation of the parties is accepted.             The status
 4
     conference set for December 12, 2011, is VACATED.            This case is ordered
 5
     to be re-calendared on January 23, 2012 at 9:30 a.m., for status
 6
     conference.
 7
         The court finds, based on the reasons stated above, that the
 8
     interests of justice served by granting this continuance outweigh the
 9
     interests of the defendant and the public in a speedy trial.
10
11
     DATED:    December 9, 2011
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